                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

    UNITED STATES OF AMERICA ex rel.               )
    RITA HAYWARD, TRAMMEL KUKOYI,                  )
    and TERRENCE SCOTT,                            )
                                                   )
                Plaintiffs,                        )    Case No. 3:11-cv-0821 (lead case)
                                                   )             3:15-cv-0404
         v.                                        )             3:15-cv-1102
                                                   )
    SAVASENIORCARE, LLC,                           )
    SAVASENIORCARE CONSULTING, LLC,                )    Judge William L. Campbell, Jr.
    SAVASENIORCARE ADMINISTRATIVE                  )    Magistrate Judge Alistair E. Newbern
    SERVICES, LLC, and SSC SUBMASTER               )
    HOLDINGS, LLC,                                 )
                                                   )
                Defendants.                        )
                                                   )

                 [PROPOSED] REVISED CASE MANAGEMENT ORDER 1

        IT IS HEREBY ORDERED that the case management order [D.E. 269], as amended

[D.E. 270, D.E. 285, D.E. 329, D.E. 334], shall be further amended as follows:

        The United States shall serve its Rule 26 rebuttal expert witness reports by May 28, 2021.

        The Parties shall confirm substantial completion of their respective document productions

by August 2, 2021.

        All fact discovery, and all discovery depositions of expert witnesses, shall be concluded by

October 22, 2021.

        Any dispositive motions shall be filed by November15, 2021. Responses shall be filed 28

days thereafter. Any optional reply shall be filed 14 days after the response. Except with prior

leave of the Court, principal and responsive briefs shall be limited to 25 pages, and reply briefs

shall be limited to 5 pages.




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 “By April 13, 2021, counsel shall file a joint proposed case management order that addresses all
remaining litigation deadlines within that timeframe.” [D.E. 459]
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       The revised target trial date is April 25, 2022. The pretrial conference date and trial filing

deadlines shall be set by separate order.

       A telephonic status conference is set for May 13, 2021, at 11:00 a.m. The parties shall file

a brief joint statement of any matters to be discussed at least one day before the call. The parties

shall call (888) 557-8511 and enter access code 7819165# to participate.

       IT IS FURTHER ORDERED that all other provisions of the case management order

[D.E. 269], as amended [D.E. 270, D.E. 285, D.E. 329, D.E. 334], shall remain unchanged.

           It is SO ORDERED.


                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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